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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 TRISHA A. EAKINS,                             )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )       CASE NO.: 1:20-cv-00057-WCL-SLC
                                               )
 AMERICAN WOODMARK                             )
 CORPORATION,                                  )
                                               )
        Defendant.                             )


                       STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW, the Parties, by and through their counsel, and files their Stipulation of

 Dismissal With Prejudice, in this cause, pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(ii), as the parties have resolved their dispute, as memorialized in a settlement

 agreement. Each party shall bear their own costs.

        WHEREFORE, the Parties files their Stipulation of Dismissal With Prejudice, as the

 parties have resolved their dispute. Each party shall bear their own costs, and for all other just

 and proper relief.

                                       Respectfully submitted,

        /s/ Samuel L. Bolinger                                 /s/ Kayla M. Ernst
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